            Case 2:07-mj-00049-KJM Document 28 Filed 11/02/07 Page 1 of 2


1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    CARO MARKS, Bar #159267
     Senior Litigator
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    RYAN SCOTT KERN
7                        IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,       )      No. 07-MJ-0049 KJM
                                     )
10                  Plaintiff,       )
                                     )      STIPULATION AND ORDER TO CONTINUE
11        v.                         )      PRELIMINARY HEARING
                                     )
12   RYAN SCOTT KERN et al,          )
                                     )      Date: December 6, 2007
13                  Defendant.       )      Time: 2:00 p.m.
     _______________________________ )      Judge: Edmund F. Brennan
14
15
16        Ryan Scott Kern, by and through his counsel, Caro Marks, Assistant
17   Federal Defender, Rahman Abul Shadebadi, by and through his counsel,
18   Peter Kmeto, and the United States Government, by and through its
19   counsel, William Wong, Assistant United States Attorney, hereby
20   stipulate and agree to vacate the previously scheduled preliminary
21   hearing date of November 6, 2007 and set a preliminary hearing date of
22   December 6, 2007 at 2:00 p.m..
23        A continuance is necessary to allow the parties to continue their
24   pretrial negotiations in an effort to settle the case pre-indictment.
25   Counsel for Mr. Kern is also presently involved in discussions with Mr.
26   Kern’s Nevada attorney in hopes of resolving his Nevada case globally
27   with the instant case. Additional time is necessary to allow counsel to
28   receive and review those documents and to discuss a global settlement

                                             1
              Case 2:07-mj-00049-KJM Document 28 Filed 11/02/07 Page 2 of 2


1    with the government.
2         IT IS STIPULATED that the period from the signing of this Order,
3    through and including December 6, 2007 be excluded in computing the
4    time within which trial must commence under the Speedy Trial Act,
5    pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for
6    ongoing preparation of counsel.             It is further stipulated that the
7    defendant’s agrees to extend the time for their preliminary hearing
8    pursuant to Federal Rule of Criminal Procedure 5.1 (d).            The government
9    fully concurs with this request.
10   Dated:    November 2, 2007
11                                                Respectfully submitted,
12                                                DANIEL BRODERICK
                                                  Federal Defender
13                                                /s/ Caro Marks
                                                  ________________________
14                                                CARO MARKS
                                                  Assistant Federal Defender
15                                                Attorney for Defendant
                                                  RYAN SCOTT KERN
16
                                                  /s/ Peter Kmeto
17   Dated: November 2, 2007                      __________________________
                                                  PETER KMETO
18                                                Attorney at Law
                                                  Attorney for Defendant
19                                                Rahman Abul Shadebadi
20                                                MCGREGOR SCOTT
                                                  United States Attorney
21
                                                  /s/ William Wong
22
                                                  WILLIAM WONG
23                                                Assistant U.S. Attorney
24   IT IS SO ORDERED.
25   DATED: November 2, 2007.
26
27
28   Ddad1/orders.criminal/kern0049.stipord(2)




                                                  2
